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 6                              UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
     UNITED STATES OF AMERICA,        )
 9                                     )              NO. CR09-335RSL
10                    Plaintiff,       )
                                       )
11              v.                     )              ORDER DENYING DEFENDANT
12
                                       )              SCHWEDA’S MOTIONS TO SEVER
     JAMES SCHWEDA and                )               AND TO DISMISS INDICTMENT
13   JAY RAMOS,                       )
                                       )
14                    Defendants.     )
15   _________________________________)

16          This matter comes before the Court on defendant Schweda’s motions to sever defendants
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     (Dkt. # 52) and to dismiss the indictment (Dkt. # 54). Having reviewed the submissions of the
18
     parties, the Court DENIES defendant’s motions.
19

20   A.     Motion to Dismiss Indictment

21          Schweda argues there is authority “for dismissal of an Indictment where the quality of the
22
     evidence presented to the Grand Jury is in question.” Motion at 11. However, the case Schweda
23
     cites did not in fact find that dismissal of the indictment was appropriate. See United States v.
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25   Kennedy, 564 F.2d 1329, 1338 (9th Cir. 1977). After reviewing the available case law, that

26   court concluded:
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 1          We believe that the rule to be distilled from the authorities discussed must be that
 2          only in a flagrant case, and perhaps only where knowing perjury, relating to a
            material matter, has been presented to the grand jury should the trial judge dismiss
 3          an otherwise valid indictment returned by an apparently unbiased grand jury. To
            hold otherwise would allow a minitrial as to each presented indictment.
 4

 5   Id. The question before the Court, then, is whether this is a “flagrant case” as described in

 6   Kennedy to justify the dismissal of Schweda’s indictment. Dismissal of an indictment is an
 7
     extraordinary measure. As the Supreme Court observed in Costello v. United States:
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            Petitioner urges that this Court should exercise its power to supervise the
 9          administration of justice in federal courts and establish a rule permitting
10          defendants to challenge indictments on the ground that they are not supported by
            adequate or competent evidence. No persuasive reasons are advanced for
11          establishing such a rule. It would run counter to the whole history of the grand jury
12
            institution, in which laymen conduct their inquiries unfettered by technical rules.
            Neither justice nor the concept of a fair trial requires such a change. In a trial on
13          the merits, defendants are entitled to a strict observance of all the rules designed to
            bring about a fair verdict. Defendants are not entitled, however, to a rule which
14          would result in interminable delay but add nothing to the assurance of a fair trial.
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     350 U.S. 359, 363-364 (1956) (footnote omitted). Rather than initiate a “minitrial as to each
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17
     presented indictment” (Kennedy, 564 F.2d at 1338), a criminal defendant has the opportunity to

18   challenge the sufficiency of the evidence presented against him by motion and at trial.
19          On August 19, 2008, law enforcement officials executed a warrant on the house where
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     Schweda and co-defendant Ramos resided in Seattle, Washington. In the course of that search,
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22
     DEA agents found large quantities of LSD, MDA, DMT, hashish, opium, hallucinogenic

23   mushrooms, and marijuana in the residence, much of it in co-defendant Ramos’ bedroom. At the
24   grand jury, DEA Agent Ellis testified, inter alia, that officers had found (1) large amounts of
25
     LSD in Ramos’ room and in the common areas of the residence; (2) “packaging materials” in
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     Schweda’s room; (3) other drug paraphernalia in Schweda’s room (two scales); and (4) DMT
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 1   and marijuana in a backpack belonging to Schweda in Schweda’s room. Agent Ellis also
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     testified that a manual belonging to Schweda containing information on how to manufacture
 3
     LSD, DMT, and MDA was found in Schweda’s room or in the greater residence and that several
 4

 5   witnesses had identified Schweda as the source and manufacturer of large quantities of LSD and

 6   other illicit substances.
 7
            Schweda does not deny in this motion that controlled substances and scales were found in
 8
     his room, but argues that Agent Ellis’ testimony to the grand jury grossly misrepresented the
 9

10   facts because: (1) substances found in common areas of the residence and in Schweda’s room

11   initially thought to contain LSD were found not to contain LSD; (2) the illegal substances found
12
     in Schweda’s backpack were actually MDA and marijuana, not DMT and marijuana; (3) the
13
     only “packaging material” found in Schweda’s room was the packaging material holding the
14

15   discovered MDA and marijuana; and (4) Agent Ellis led the grand jury to believe that the binder

16   containing instructions on how to manufacture LSD and other substances was found in
17
     Schweda’s room during the August 19, 2008 search when in fact the binder was proffered
18
     months later by a cooperating witness.
19

20          A review of Agent Ellis’ grand jury testimony reveals that there may be some weaknesses

21   in the government’s proffered evidence. However, this is not a “flagrant case” as described in
22
     Kennedy. Contrary to defendant’s argument that Agent Ellis perjured himself by claiming LSD
23
     was found in Schweda’s room (see Reply at 3), Agent Ellis does in fact make clear that the LSD
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25   was found in co-defendant Ramos’ room. See Dkt. # 54, Exh. E at 16. Additionally, even

26   assuming the facts as presented in Schweda’s motion, Agent Ellis’ passing reference to
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 1   “packaging material,” while not entirely forthright, is a small piece of testimony in comparison
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     to the total evidence presented to the grand jury. Moreover, no matter how much Schweda
 3
     attempts to characterize this prosecution as an “LSD case” (see, e.g., Reply at 2), the grand jury
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 5   in fact indicted Schweda for conspiracy to distribute LSD, DMT, and MDA. See Dkt. # 13.

 6   Schweda does not dispute that MDA was found in his room, that LSD was found in the greater
 7
     residence, or that several witnesses testified that he was the source of these substances. While
 8
     the provenance of the binder containing instructions on the manufacture of these substances is
 9

10   not clear to the Court, a witness has identified it as Schweda’s. For these reasons, even

11   assuming some weakness in Agent Ellis’ testimony, the grand jury was presented with more than
12
     enough evidence to return an indictment against Schweda. The sufficiency and admissibility of
13
     that evidence will be determined later by motion and at trial. Mr. Schweda’s motion to dismiss
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15   the indictment is DENIED.

16   B.     Motion to Sever Defendants
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            Schweda also moves to sever under Bruton v. United States, which held that a
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     nontestifying co-defendant's confession that directly inculpates another defendant by name is not
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20   admissible at trial. 391 U.S. 123 (1968). In its response, the government agrees that the

21   admission of co-defendant Ramos’ statements implicating Schweda would violate Bruton and
22
     further represents that this testimony will not be offered at trial. See Dkt. # 57 at 3. Based on
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     the government’s representation, the Court finds no Bruton issue and DENIES Schweda’s
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25   motion to sever.

26   C.     Conclusion
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 1         For the foregoing reasons, defendant Schweda’s motions to dismiss the indictment and to
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     sever (Dkt. ## 52, 54) are DENIED.
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           DATED this 26th day of March, 2010.
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 6                                            A
                                              Robert S. Lasnik
 7                                            United States District Judge
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